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                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                      LAFAYETTE DIVISION

 UNITED STATES OF AMERICA                                           CRIMINAL NO. 08-cr-0205-007

 VS.                                                                JUDGE DOHERTY

 JACORY JAMAR SIMON (007)                                           MAGISTRATE JUDGE HILL

       SUPPLEMENTAL AND AMENDED REASONS FOR DETENTION PENDING TRIAL
                      (by Magistrate Judge Mildred E. Methvin)

         The memorandum detention order entered as to Jacory Jamar Simon and four co-

 defendants on August 15, 2008, has been remanded for reconsideration after Simon objected to a

 factual inaccuracy in one of the general findings as to all defendants.1 In the original Order of

 Detention, I stated:

                All of the defendants have strong ties to the community. All of the
         defendants have past drug convictions and were all on probation from state
         convictions at some point during the existence of the conspiracy charged here.

 Rec. Doc. 63, p. 4. Simon does not, in fact, have any past drug convictions.

         This amended detention order will correct the factual mistake and supplement the reasons

 for detention.

                                          Supplemental Findings

         Simon and nine others are charged in a 41-count indictment with conspiracy to possess

 with intent to distribute cocaine, cocaine base, and other controlled substances between

 November 1, 2005 and December 9, 2007, and other substantive counts. Simon is charged with

 the most counts, thirteen in all, including charges of distribution of cocaine, distribution of

 cocaine base, possession with intent to distribute Alprazolam, and possession with intent to



 1
  Memorandum Ruling and Order, Rec. Doc. 81. The appeal is at Rec. Doc. 66, and the government’s response is
 Rec. Doc. 79.
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 distribute cocaine. The conspiracy charge, Count 1, carries a minimum ten-year sentence, and a

 possible life sentence.

           The indictment describes a drug organization run by Darius Nathaniel Fisher (Defendant

 001) and Joseph Lee Helaire, Jr. (now deceased), which delivered large quantities of cocaine

 from Houston to the Acadiana area, where much of it was converted by local dealers into cocaine

 base prior to distribution. The indictment details the alleged activities of each defendant in

 connection with the drug ring. There is a rebuttable presumption against defendant’s release

 under §3142(e) of the Bail Reform Act.

           DEA Agent Chad Berard testified that Simon was the “backbone of the organization.”

 Agents wiretapped hundreds of conversations, and much of this evidence establishes Simon’s

 role and activities in the drug conspiracy. Agent Berard’s testimony established that the weight

 of the evidence is strong.

           The Pretrial Services Report shows that Simon was arrested on May 17, 2005, for battery

 of a school teacher in St. Martin Parish. He was ultimately convicted of simple battery and

 placed on probation, which was terminated unsatisfactorily on July 6, 2007. Accordingly, the

 record establishes that Simon was, in fact, “on probation from [a] state conviction . . . during the

 existence of the conspiracy charged here” as noted in the original Order of Detention. It is noted

 that Simon does not have a felony conviction, but nevertheless, he has demonstrated his inability

 to comply with conditions of probation as to the simple battery conviction, which is a relevant

 factor.

           The PTS report also shows that Simon was also charged with the following offenses for

 which there is no disposition: disturbing the peace (St. Martin Parish, 2005), distribution of a
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 Schedule II Controlled Dangerous Substance (Lafayette Parish, 2006), no seat belt or driver’s

 license (Lafayette Parish, 2006), failure to appear in court (St. Martin Parish 2006), transactions

 involving proceeds from drug offenses and possession with intent to distribute Schedule IV drugs

 (St. Martin Parish 2007), failure to signal turn, no driver’s license, failure to appear for

 arraignment (no seatbelt), failure to appear for arraignment (no driver’s license) (Lafayette,

 2007), possession of cocaine (pending in St. Martin Parish, 2007).

        Simon has strong ties to the community. The court accepted proffers of three witnesses

 for Simon: Joyce Landry, a relative, and siblings Nathan and Tracey Simon. The witnesses

 would testify regarding Simon’s residence, schooling, and job prospects if released on bond.

        No evidence was submitted to refute the weight of the evidence against Simon, his key

 role in the conspiracy, his criminal record, or the unsatisfactory termination of his state

 probation.

        After carefully considering the evidence presented, I conclude that Simon failed to

 successfully rebut the presumption against his release. Although Simon is not considered a flight

 risk, considering his prior criminal history, the fact that he was on state probation during part of

 the conspiracy charged, evidence that he was “the backbone of the organization,” the fact that he

 has the most counts against him of any defendant, I conclude that there are no conditions or

 combination of conditions which will reasonably assure the safety of the community.

        In arriving at this conclusion, all of the factors enumerated in 18 U.S.C. §3142(g) have

 been considered, including the nature and circumstances of the offense, the weight of the

 evidence against defendants, the history and characteristics of defendants, and the nature and
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 seriousness of the danger to any person or the community that would be posed by the defendant’s

 release.

        Signed at Lafayette, Louisiana, on September 9, 2008.
